            Case 4:20-cv-05113-SAB                   ECF No. 19          filed 11/04/20    PageID.190 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                             FILED IN THE
                                                                                                              U.S. DISTRICT COURT
                                                                                                        EASTERN DISTRICT OF WASHINGTON
                                                                  for the_
                                                     Eastern District of Washington
                                                                                                        Nov 04, 2020
                    ROBERT JESSE HILL,                                                                        SEAN F. MCAVOY, CLERK


                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:20-CV-05113-SAB
 JAY INSLEE, LISA AMATANGEL, JERI BOE, MITZI                         )
  BRANNOCK, LISA FLYNN, ISAIAH GARRISON,                             )
    SHARI HALL, SONYA HALLMAN, ROBERT
       HERZOG, DONALD HOLBROOK, et al.,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion to Voluntarily Dismiss Complaint pursuant to Fed. R. Civ. P. 41(a), ECF No. 16, is GRANTED; and
’
              Plaintiff’s Complaint is DISMISSED WITHOUT PREJUDICE.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge              Stanley A. Bastian




Date: November 4, 2020                                                       CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Angela Noel
                                                                                          (By) Deputy Clerk

                                                                             Angela Noel
